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           EXHIBIT K
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                                                   Forum on
                                                   FAIR AND SAFE
                                                   Sport for

                                                   GIRLS
                  Sunday, August 20, 2023
                                   4:00 pm to 6:00 pm
        Mary L. Stephens Davis branch library, 315 E. 14th Street, Davis


      The California Interscholastic Federation (CIF) prioritizes
      the wants of males before the needs of females. It’s time
      to expose CIF’s discriminatory policies that put girls at
      risk and removes opportunities to excel in sport.
      Join us to hear:
      Ř )RUPHU&,)DQG1&$$FROOHJLDWHZRPHQDWKOHWH
      Ř /HJDOH[SHUWVLQ7LWOH,;DQGZRPHQōVULJKWVSROLF\

              This event is free and open to the public.
                      No registration required.
      Questions or to receive presentation materials, please
      email moms4libertyyolo@gmail.com


Hosted by the Moms for Liberty, Yolo County. This event is not sponsored by Yolo County Library and the presence of this
group in the meeting room does not constitute Yolo County Library’s endorsement of the policies or beliefs of this group.

                                                                                              Exhibit K, Page 2
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Forum Vision
Ř (PSRZHUDQGSURWHFWJLUOVōVSRUWVDQGIHPDOHDWKOHWHV
Ř 'HIHQGWKHRULJLQDOLQWHQWRI7LWOH,;
Ř &UHDWHDSRZHUIXOQHWZRUNRIFRDFKHVSDUHQWVDQGJLUOVōVSRUWV
  VXSSRUWHUV

Agenda
 4:00    Welcome and opening remarks
         (Sophia Lorey, California Family Council)
    6WDWHDQG&,)JHQGHUVHOIGHFODUDWLRQSROLFLHV7KHLPSDFW
         WRJLUOVōKLJKVFKRROVVSRUWVLQ&DOLIRUQLD(Erin Friday, Esq.
         Our Duty NorCal)
    7LWOH,;KLVWRU\DQGFXUUHQWVWDWXV'RJLUOVKDYHWKHULJKW
         WRHTXDORSSRUWXQLW\LQVSRUWV"(Kim Jones, Co-founder
         ICONS)
    3K\VLRORJLFDODGYDQWDJHRIPDOHDWKOHWHVHPSLULFDOGDWD
         DURXQGVSHHGVWUHQJWKHQGXUDQFHHWF(speaker to be
         announced)
    CIF Gender Diverse Inclusivity Toolkit
         Ř (PRWLRQDODQGSV\FKRORJLFDOLPSDFWRQJLUOVDEXVH
            FRQVHQWVKDPHDQGVLOHQFH(Allie Snyder, Davis mother)
         Ř 5ROHRIKLJKVFKRRODWKOHWLFGLUHFWRUVFRDFKHVSDUHQWV
            WHDPFDSWDLQVDQGWHDPPDWHVDVRXWOLQHGLQ&,)7RRONLW
            (Beth Bourne, Davis mother)
    3URSRVHGQHZ&,)SROLF\WKDWSURWHFWVJLUOVōULJKWVWRIDLU
         DQGVDIHVSRUW$WKOHWLFV$OEHUWDPRGHO
    2SHQGLVFXVVLRQDERXWZKDWōVQH[WQHWZRUNIRUPDWLRQ
         SHWLWLRQVSURWHVWV&,)OHDGHUVKLSPHHWLQJRQ$XJWKLQ
         6DFUDPHQWRRWKHULGHDV"
 6:00    Reception with light refreshments provided (6–7pm)



                                                            Exhibit K, Page 3
